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                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA

                                                    CIVIL MINUTES - GENERAL


 Case No.          CR 14-499-PA                                                              Date      April 18, 2019
 Title      United States of America v. Chen, et al.

 Present: The Honorable                  Patrick J. Walsh, U.S. Magistrate Judge
                Isabel Martinez                                     Court Smart 4/18/19
                 Deputy Clerk                                    Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiff:                                 Attorneys Present for Petitioner:
                             John Kucera                                                    Eric Honig
                                                                                          Victor Sherman



 Proceedings:                       Settlement Conference

       The parties reached a settlement of the case. The terms of the settlement are put forth on the
record by the parties.




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